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4                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
5                                    AT SEATTLE
6
7     FEDERAL TRADE COMMISSION,
8                                                  CASE NO.
                                   Plaintiff(s),   2:23−cv−00932−JHC
9                         v.                       MINUTE ORDER SETTING
10                                                 TRIAL DATE AND RELATED
      AMAZON.COM INC et al.,                       DATES
11
12                               Defendant(s).

13
                                                               September 22, 2025
      JURY TRIAL DATE                                          at 01:30 pm
14
15    Length of Trial                                          10 days

16    Deadline for joining additional parties
17    Deadline for amended pleadings                           February 24, 2025
18
      Disclosure of expert testimony under                     February 24, 2025
19          FRCP 26(a)(2)

20    All motions related to discovery must be filed by
                                                               March 26, 2025
           (see LCR 7(d))
21
      Discovery completed by                                   April 25, 2025
22
23    All dispositive motions and motions challenging
            expert witness testimony must be filed by          May 27, 2025
24          (see LCR 7(d))

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     AND RELATED DATES − 1
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1
      Settlement conference held no later than
2           (See LCR 39.1(b)(5) if parties are                      July 24, 2025
            interested in pro bono mediation)
3
      All motions in limine must be filed by
4          All motions in limine shall be filed as                  August 11, 2025
           one motion.
5
      Agreed pretrial order due                                     September 2, 2025
6
7     Deposition Designations must be submitted to
           the court (not filed on CM/ECF) by:                      September 3, 2025
8          (see LCR 32(e))

9     Pretrial conference to be held at 01:30 pm on                 September 8, 2025

10    Trial briefs, proposed voir dire, jury                        September 15, 2025
             instructions by
11
               Motions raised in trial briefs
12             will not be considered.
13
14            These dates are set at the direction of the court after reviewing the joint status

15   report and discovery plan submitted by the parties. All other dates are specified in the

16   Local Civil Rules. If any of the dates identified in this Order or the Local Civil Rules

17   fall on a weekend or federal holiday, the act or event shall be performed on the next

18   business day. These are firm dates that can be changed only by order of the court, not by

19   agreement of counsel or parties. The court will alter these dates only upon good cause

20   shown: failure to complete discovery within the time allowed is not recognized as good

21   cause.

22            As required by LCR 37(a), all discovery matters are to be resolved by agreement if

23   possible. In addition, pursuant to Federal Rule of Civil Procedure 16, the Court "direct[s]

24   that before moving for an order relating to discovery, the movant must request a

25   conference with the court" by notifying Ashleigh Drecktrah at

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1    Ashleigh_Drecktrah@wawd.uscourts.gov. See Fed.R.Civ.P.16(b)(3)(B)(v).
2          Counsel are directed to cooperate in preparing the final pretrial order in the format
3    required by LCR 16.1, except as ordered below.
4          The original and one copy of the trial exhibits are to be delivered to the courtroom
5    deputy by close of business the Thursday before trial. Each exhibit shall be clearly
6    marked. Plaintiff's exhibits shall be numbered consecutively beginning with 1;
7    defendant's exhibits shall be numbered consecutively beginning with 500. Duplicate
8    documents shall not be listed twice: once a party has identified an exhibit in the pretrial
9    order, any party may use it. Each set of exhibits shall be submitted in a three−ring binder
10   with appropriately numbered tabs.
11         Counsel must be prepared to begin trial on the date scheduled, but it should be
12   understood that the trial may have to await the completion of other cases.
13         Should this case settle, counsel shall notify Ashleigh Drecktrah at
14   Ashleigh_Drecktrah@wawd.uscourts.gov as soon as possible. An attorney who fails to
15   give the Deputy Clerk prompt notice of settlement may be subject to such discipline
16   as the court deems appropriate.
17
18         A copy of this Minute Order shall be mailed to all counsel of record.
19

20         DATED:       November 8, 2024
21                                                  s/ Ashleigh Drecktrah
                                                  Ashleigh Drecktrah, Deputy Clerk to
22                                                Hon. John H. Chun, Judge
                                                  (206) 370−8520
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     AND RELATED DATES − 3
